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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION


GODO KAISHA IP BRIDGE 1,              §
                                      §
      Plaintiff,                      §
                                      §
                                               Case No. 2:21-CV-213-JRG
      v.                              §
                                                      (Lead Case)
                                      §
TELEFONAKTIEBOLAGET LM                §
                                               JURY TRIAL DEMANDED
ERICSSON and ERICSSON INC.,           §
                                      §
      Defendants.                     §
                                      §
GODO KAISHA IP BRIDGE 1,              §
                                      §
      Plaintiff,                      §
                                      §
      v.                              §        Case No. 2:21-CV-215-JRG
                                      §             (Member Case)
NOKIA CORPORATION, NOKIA              §
SOLUTIONS AND NETWORKS OY, and        §        JURY TRIAL DEMANDED
NOKIA OF AMERICA CORPORATION,         §
                                      §
      Defendants.                     §
                                      §



              DEFENDANTS’ RESPONSE TO IP BRIDGE’S OBJECTIONS
           PURSUANT TO RULE 72 TO THE CLAIM CONSTRUCTION ORDER
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                                TABLE OF ABBREVIATIONS



 Abbreviation             Definition

 Plaintiff or IP Bridge   Plaintiff Godo Kaisha IP Bridge 1

 Defendants               Defendants Nokia of America Corporation and Nokia Solutions and
                          Networks Oy and Defendants Telefonaktiebolaget LM Ericsson and
                          Ericsson Inc.
 ’909 patent              U.S. Patent No. 7,372,909

 ’594 patent              U.S. Patent No. 8,077,594

 ’724 patent              U.S. Patent No. 8,085,724

 ’239 patent              U.S. Patent No. 8,385,239


 ’000 patent              U.S. Patent No. 9,137,000


 POSITA                   Person of Ordinary Skill in the Art
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       Pursuant to L.R. CV-72(b), Defendants respectfully submit the following responses to IP

Bridge’s Objections (Dkt. 142) (“Objections”) to the Magistrate Judge’s Claim Construction Order

(Dkt. 133) (“Order”). As discussed below, the Order properly held the ’724 patent’s “generally

increasing” term to be indefinite. Defendants thus respectfully request that the Court overrule the

Objections and adopt the Order’s holding. In addition, the Court should disregard IP Bridge’s

arguments regarding the ’239 patent’s “data” term because IP Bridge failed to object to any specific

finding in the Order. That said, Defendants respectfully request that the Court affirm that the ’239

patent’s “data” term should receive its plain and ordinary meaning but overturn that the plain and

ordinary meaning excludes “control information or control signals.”

       A.      “a plurality of sequences, which are indexed by the indices having consecutive
               numbers in order of generally increasing to a maximum value and then
               decreasing, from the maximum value, a required cyclic shift amount according
               to a sequence number” (’724 patent, Claims 12 and 18)

       The Order properly held that the ’724 patent’s “generally increasing” term is indefinite. The

Order first correctly found that this was a “term of degree” that “[n]either party contends . . . has any

special meaning to a [POSITA].” See Order at 18-19. Based on this, the Order properly consulted the

claims, specification, and dictionary definitions. See Order at 19-21. Ultimately, however, the Order

found that “nothing in the [’724 patent’s] disclosure provides context for how a skilled artisan should

understand which of” multiple dictionary definitions would apply. See Order at 19. The term

“generally increasing” would have encompassed many different—and potentially inconsistent—

meanings to a POSITA. See Order at 19; see also Dkt. No. 69-20 (Mahon Decl.) at ¶¶ 62-66, 69-74

(Defendants’ expert explaining that the term “generally” in the context of the ’724 patent’s claims

allows an indeterminate number of exceptions to the claimed relationship between index and required

cyclic shift amount, leaving the scope of the claim without an objective boundary). The Order

therefore correctly concluded that term of degree lacked any objective boundaries and was indefinite.

See Order at 21; see also Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364, 1371 (Fed. Cir. 2014)

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(citing Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898, 911 n.8 (2014)) (interpreting Nautilus

as “indicating that there is an indefiniteness problem if the claim language might mean several

different things and no informed and confident choice is available among the contending definitions”)

(internal marks omitted).

       In its Objections, IP Bridge raises three flawed arguments that should each be rejected.

       First, IP Bridge reiterates that a POSITA would have understood Figure 24 to illustrate what

was meant by “generally increasing” in the context of the ’724 patent. See Objections at 1. The Order

already considered and (in no uncertain terms) rejected this argument as “pick[ing] an embodiment

from the specification, map[ping] it to the claim language, and then treat[ing] it as definitional.”

Order at 20 n. 4. The Order also correctly observed that IP Bridge’s proffered interpretation of the

term leads to absurd results. See Order at 20 (“Plaintiff’s ‘construction’ of ‘generally increasing’ . . .

would encompass, after an initial increase, no further increases in required cyclic shift amount.”)

(emphasis added). IP Bridge’s Objections never dispute this absurd result, nor do they explain how

Figure 24’s disclosure “illustrates what was meant by ‘generally increasing.’” See Objections at 1.

       Second, IP Bridge wrongly alleges error in the Order’s reliance on dictionary definitions. See

Objections at 1-2. As explained earlier, the Order consulted the claims, specification, and dictionary

definitions. See Order at 19 (“The claims on their face provide no guidance about the scope of the

term, and there is no express definition of the term in the specification.”); id. at 19-21 (rejecting IP

Bridge’s arguments regarding the ’724 patent’s Figs. 23 and 24 as “not persuasive”); id. at 19

(considering dictionary definitions). This was entirely proper. See, e.g., Ruckus Wireless, Inc. v.

Innovative Wireless Sols., LLC, 824 F.3d 999, 1002-03 (Fed. Cir. 2016) (“The ordinary meaning may

be determined by reviewing various sources, such as the claims themselves, the specification, the

prosecution history, dictionaries, and any other relevant evidence.”).

       Third, IP Bridge incorrectly faults the Order for mischaracterizing Dr. Mahon’s declaration


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as summarizing two potential interpretations of the disputed term. See Objections at 2. The Order,

however, correctly summarized two of the possible interpretations of generally increasing addressed

by Dr. Mahon’s declaration. Specifically, Dr. Mahon opined that a POSITA could have interpreted

“generally increasing” to mean (among other things): (i) increasing only for the most part (i.e., what

the Order summarized as “increasing relative to a prior index more often than decreasing relative to

a prior index,” Order at 19 (emphasis added)); or (ii) increasing only some of the time (i.e., what the

Order summarized as “increasing on average over the number of indices,” Order at 19). See Dkt. No.

69-20 at ¶¶ 64-66. Notably, Dr. Mahon provided additional examples to illustrate the ambiguity of

“generally increasing,” such as the “Random Values” graphs. See id. at ¶¶ 69-73. As Dr. Mahon

explained, those graphs illustrate minimum and maximum values that are separated by a series of

increasing and decreasing values. See id. In both examples, the peaks of the graph do not uniformly

increase, and the valleys of the graph also do not uniformly increase. See id. The multiple potential

interpretations of “generally increasing” prevent a POSITA from determining with reasonable

certainty whether the “Random Values” graphs would be covered by the phrase “generally increasing

to a maximum value.” See id. The Order correctly credited Dr. Mahon’s opinions and accordingly

concluded that the term “generally increasing” is indefinite.

       Thus, for the foregoing reasons, Defendants respectfully request that the Court overrule the

Objections and adopt the Order’s holding that the “generally increasing” term is indefinite.

       B.      “the aperiodic channel quality indicator report is multiplexed with data
               transmitted by the mobile terminal” / “the aperiodic channel quality indicator
               report is not multiplexed with data transmitted by the mobile terminal” (’239
               patent, Claim 14)

       As explained in Defendants’ Objections (see Dkt. 144 at 4-5), the Order correctly held that

the ’239 patent’s “data” term should receive its plain and ordinary meaning, but the Order incorrectly

excluded “control information or control signals” from that meaning. Order at 25. Although the Order

frames its decision as applying the “plain and ordinary meaning,” the Order effectively finds that

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applicant disclaimed types of data that include control information or signaling. The Order erred

because the ’239 patent does not include any express disavowal of claim scope. Retractable Techs.

Inc. v. Becton Dickinson & Co., 653 F.3d 1296, 1306 (Fed. Cir. 2011). The specification discloses

embodiments in which “control” and “user” information are not distinguished (see Dkt. 144 at 5),

and the prosecution history establishes that the applicant knew how to claim “user data” to the

exclusion of “control data” but opted not to exclude the latter. See id. By allowing IP Bridge to narrow

the claims despite no clear and unmistakable disavowal in the intrinsic record or any other evidence

of a clear intention to limit the claim’s scope, the Order legally erred. See id. at 4-5.

       In its Objections, IP Bridge never explains how “data” can receive its plain and ordinary

meaning while simultaneously excluding certain types of signaling and information. In fact, IP

Bridge never even objects to the Order’s construction at all. Instead, IP Bridge conditionally opposes

an argument that may later be made by Defendants. See Objection at 2 (“IP Bridge respectfully

objects to the Court’s construction . . . to the extent that it is later argued that the construction

somehow does not exclude control information or control signals.”) (emphasis omitted). But “parties

filing objections must specifically identify those findings objected to.” Battle v. United States Parole

Comm’n, 834 F.2d 419, 421 (5th Cir. 1987) (citation omitted). Failure to do so results in “[f]rivolous,

conclusive or general objections [that] need not be considered by the district court.” Id. Here, IP

Bridge has not “specifically identif[ied]” any findings that are objected to in the Order’s construction

of the ’239 patent’s “data” term. Thus, the Court need not consider IP Bridge’s Objections to the

’239 patent’s “data” term.

       Thus, for the foregoing reasons, Defendants respectfully request that the Court affirm that the

’239 patent’s “data” term should receive its plain and ordinary meaning but overturn that the plain

and ordinary meaning excludes “control information or control signals.”




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                                CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that the foregoing document was filed

electronically in compliance with Local Rule CV-5(a). Pursuant to Local Rule CV-5(c), all counsel

of record were served a true and correct copy of the foregoing document by electronic mail on July

12, 2022.

 Dated: July 12, 2022                           /s/ John D. Haynes
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